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                          UNITED STATES COURT OF APPEALS
                                        FOR THE
                                   SECOND CIRCUIT
                      ____________________________________________

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
the 22nd day of October, two thousand twenty-four,

_______________________________________

People of the State of New York,                            ORDER
                                                            Docket No. 24-2299
              Plaintiff- Appellee,

  v.

Donald J. Trump,

          Defendant - Appellant.
_______________________________________


       Counsel for APPELLEE has filed a scheduling notification pursuant to the Court's Local
Rule 31.2, setting January 13, 2025, as the brief filing date.

        It is HEREBY ORDERED that Appellee's brief must be filed on or before January 13,
2025. If the brief is not filed by that date, the appeal will proceed to a merits panel for
determination forthwith, and Appellee will be required to file a motion for permission to file a
brief and appear at oral argument. A motion to extend the time to file the brief or to seek other
relief will not toll the filing date. See Local Rule 27.1(f)(1); cf. RLI Insurance Co. v. JDJ Marine,
Inc., 716 F.3d 41, 43-45 (2d Cir. 2013).


                                                      For The Court:
                                                      Catherine O'Hagan Wolfe,
                                                      Clerk of Court
